                   Case 1-22-40780-jmm                        Doc 22        Filed 05/18/22             Entered 05/19/22 00:07:19


                                                               United States Bankruptcy Court
                                                                Eastern District of New York
In re:                                                                                                                 Case No. 22-40780-jmm
Carmen Brink                                                                                                           Chapter 13
       Debtor
                                                      CERTIFICATE OF NOTICE
District/off: 0207-1                                                  User: admin                                                                 Page 1 of 1
Date Rcvd: May 16, 2022                                               Form ID: 273                                                               Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on May 18, 2022:
Recip ID                 Recipient Name and Address
db                     + Carmen Brink, 21-36 28th Street, Astoria, NY 11105-2934

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: May 18, 2022                                             Signature:          /s/Gustava Winters




                                      CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on May 16, 2022 at the address(es) listed below:
Name                                  Email Address
Michael J. Macco
                                      ecf@maccolaw.com jzarrilli@maccolaw.com;maccocr82572@notify.bestcase.com

Michael J. Macco
                                      on behalf of Trustee Michael J. Macco ecf@maccolaw.com jzarrilli@maccolaw.com;maccocr82572@notify.bestcase.com

Office of the United States Trustee
                                      USTPRegion02.BR.ECF@usdoj.gov


TOTAL: 3
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  Information to identify the case:

  Debtor 1:
                         Carmen Brink                                        Social Security number or ITIN:   xxx−xx−4677
                                                                             EIN: _ _−_ _ _ _ _ _ _
                         First Name   Middle Name   Last Name

  Debtor 2:                                                                  Social Security number or ITIN: _ _ _ _
                         First Name   Middle Name   Last Name
  (Spouse, if filing)                                                        EIN: _ _−_ _ _ _ _ _ _
  United States Bankruptcy Court:         Eastern District of New York        Date case filed for chapter:      13     4/14/22

  Case number:            1−22−40780−jmm


                                      FINAL NOTICE OF SECTION 521 DEFICIENCIES

NOTICE IS HEREBY GIVEN THAT:

One or more deficiencies remain regarding the document(s) indicated below. Under § 521(i)(1) of the Bankruptcy Code,
these documents are required to be filed no later than 45 days from the filing of the petition.


                   Notice Required by 11 U.S.C. §342(b) of the Bankruptcy Code for Individuals Filing for Bankruptcy
                   (Official Form 2010) − Part 7 of Voluntary Petition Not Signed
                   Schedule A/B
                   Schedule D
                   Schedule E/F
                   Schedule I
                   Schedule J
                   Statement of Financial Affairs
                   Statement of Your Current Monthly Income and Means Test Calculation
                   Copies of Pay Statements received within 60 days prior to the date of filing

Failure to file the required documents within 45 days of the date of filing of the petition may result in the case being
dismissed without further notice or hearing, unless an extension of time under § 521(i)(3) or (4) of the Bankruptcy Code is
made.


Dated: May 16, 2022

                                                                           For the Court, Robert A. Gavin, Jr., Clerk of Court




 GTntcdef521a3.jsp [Final Deficiency Notice rev. 02/01/17]
